EXHIBIT
  G
4/23/25, 2:24 PM                                    Fw:    - karmstrong@aclupa.org - American Civil Liberties Foundation of PA Mail


  From: Belcher, Joshua A <Joshua.A.Belcher@ice.dhs.gov>
  Sent: Tuesday, April 15, 2025 11:55:17 AM
  To: Brennan Gian-Grasso <Brennan@gtilg.com>
  Subject:

  Morning,

  He is still in custody at Moshannon

  Respectfully,

  Josh Belcher
  Deportation Officer
  Philadelphia Field Office, Moshannon Sub Office
  Enforcement and Removal Operations
  U.S. Immigration and Customs Enforcement




https://mail.google.com/mail/u/0/#search/brennan/FMfcgzQZVKCJQqzvWFzshbrLRpfcsKMN                                                     1/1
